Case 3:11-cr-30002-JLH   Document 89   Filed 08/26/11   Page 1 of 2 PageID #: 905



                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                             HARRISON DIVISION


UNITED STATES OF AMERICA                                     PLAINTIFF

      V.                 Criminal No. 11-30002-002

MICHAEL PIERCE                                               DEFENDANT

                                   ORDER


      Comes on for consideration defendant's Motion For Downward

Departure And For Continuance Of Sentencing If Hearing Necessary

(Doc# 86) -- together with the Response Of United States To

Defendant's Motion For Downward Departure And For A Continuance

(Doc. # 88)-- and the Court, being well and sufficiently advised,

finds and orders as follows:

      1.    Defendant's motion addresses his objections and

challenges to the calculations and conclusions contained in the

Presentence Investigation Report provided to the Court by the

U.S. Probation Office and he seeks a hearing with respect to

them.      Moreover, he says, if he is to be given such a hearing, he

seeks to have his sentencing continued.

      2.    The government responds that there is no reason for a

continuance of the sentencing which is already scheduled.

      3.    It will, of course, be necessary for the Court to

conduct a hearing in order to resolve the objections and

challenges made to the Presentence Investigation Report.               However

the Court perceives no reason why the hearing concerning these
Case 3:11-cr-30002-JLH   Document 89   Filed 08/26/11   Page 2 of 2 PageID #: 906



matters should require a continuance of the scheduled sentencing

date and believes they can be taken up and properly addressed by

the Court on that date -- which is the Court's usual practice

with respect to such matters.

      4.   Accordingly, to the extent Defendant's motion seeks a

hearing on his objections and challenges, it will be granted and

that hearing will be conducted on the regularly scheduled

sentencing date of August 30, 2011.         To the extent the motion

seeks a continuance of the sentencing hearing, it will be denied.

      IT IS SO ORDERED this 26th day of August, 2011.


                                   /S/ Jimm Larry Hendren
                                   JIMM LARRY HENDREN
                                   CHIEF U.S. DISTRICT JUDGE
